         Case 4:20-cv-03919-CW                Document 596       Filed 01/17/25        Page 1 of 2


                                                      SCHOOL OF LABOR AND EMPLOYMENT RELATIONS
        ILLINOIS                                               Labor and Employment Relations Building, MC-504
                                                                                            504 E. Armory Ave.
                                                                                     Champaign, IL 61820-6297




                  In re College Athlete NIL Litigation, Docket No. 4:20'-cv-03919
January 12, 2025
The Honorable Claudia Wilken
United States District Court
Northern District of California
1301 Clay Street                                                                            JAN 17 2025
Oaldand, CA 94612
                                                                                     CLERK, U.S. DISTRICT 80URT
                                                                                    NORTH DISTRICT OF CALIFORNIA
                                                                                            OAKLAND OFFICE

Dear Judge Wilken:
As a professor whose research has concentrated on NCAA athletics since 2012,1 have followed
this litigation closely.
The docket in this matter reflects interest by college athletes to have an independent association
to speak on their behalf during the lengthy course of the proposed settlement period.
I write to inform the Court of my research article, “An Imnsible Union for an Invisible Labor
Market: College Football and the Union Substitution Effect,” Wisconsin Law Review (2012),
pp. 1077'1136, available in https://wlr.law.wisc.edU/wp-content/ uploads/sitcs/1263/2012/II/L
LeRoy.pdf.
My research made a simple but novel point in 2012. There is a method to accommodate the
request for representation by college athletes that would maintain their status as non-
employees:
        1 theorize that college football players participate in an invisible labor market, where the
        NCAA is a monopsony purchaser and strictly allocates their labor to ensure competitive
        balance between schools....

        This Article proposes a unique and limited form of collective bargaining for
        Division 1 football. This conception accounts for the fact that NCAA football differs from
        the NFL model because college players are fuU-time students who must adhere to a code
        of amateurism. Thus, the proposed model of collective bargaining does not involve wage
        negotiations or strikes. My analysis shows, however, that players have interests apart
        from wages. These include scholarship shortfalls (the difference between their grant-in-
        aid and true cost for attending college), extended or improved educational benefits.




UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN

 217.333.1482 ● (f) 217.244.9290 ● ler.illinois.edu
          Case 4:20-cv-03919-CW               Document 596       Filed 01/17/25        Page 2 of 2



 I ILLINOIS
                                                      SCHOOL OF LABOR AND EMPLOYMENT RELATIONS

                                                               Labor and Employment Relations Building, MC-504
                                                                                            504 E. Armory Ave.
                                                                                    Champaign, IL 61820-6297



complete medical and hospital insurance for footbalhrelated injuries, long-term disability
insurance for injuries such as brain trauma, transfer and eligibility rights not inconsistent with
NCAA rules, and a grievance process to challenge abusive treatment by coaches and
administrators. For negotiations between players and schools that deadlock on these subjects,
the proposal draws from public sector labor laws that bar strikes but allow arbitration. This
proposal would not alter the NCAA’s amateur character.
Id. at 1084.

This letter reflects my personal professional perspective. 1 do not speak for the University of
Illinois, Urbana'Champaign, nor the School of Labor and Employment Relations, nor the
College of Law; nor any college athlete, law firm, or any other party with an interest in this
matter.


Thank you for your consideration.




Michael H. LeRoy              /
LER Alumni Professor /
School of Labor & Employment Relations & College of Law
University of Illinois at Urbana-Champaign




                                                        -2-




 UNIVERSITY OF ILLINOIS AT URBANA-CHAMPAIGN

 217.333.1482 ● (f) 217.244.9290 ● ler.illinois.edu
